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                                        ORDERED.


         Dated: May 25, 2019




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
                                    www.flmb.uscourts.gov

In re:

DANA MICALLEF,                                                 Case No. 6:18-bk-06259-KSJ
                                                               Chapter 7
                       Debtor.
__________________________________/

                    AGREED ORDER GRANTING
      JOINT MOTION TO ABATE MOTION FOR RELIEF FROM THE
AUTOMATIC STAY FILED BY CREDITOR, SPECIALIZED LOAN SERVICING, LLC

          This matter came before the Court without a hearing for consideration of the Joint Motion

to Abate Motion For Relief From the Automatic Stay filed by Creditor, Specialized Loan Servicing,

LLC (Doc. No. 85) which was filed jointly by the Trustee, Gene T. Chambers (“Trustee”) and

Specialized Loan Servicing LLC (“SLS”). In the Motion to Abate the Trustee and SLS seek to abate

any hearings, stay any required responses and any other action associated with SLS’ Motion until

further request by either party or by further order of this Court. Good cause being shown and the

parties to this matter having agreed to the abatement, it is

          ORDERED:

          1.     The Motion to Abate Motion For Relief From the Automatic Stay is GRANTED.

          2.     All hearings, response deadlines and any other actions associated with SLS’ Motion

is abated until either the Trustee or SLS requests that the Motion be reactivated or by order of this
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Court.

         3.     Service of this order is limited to the Trustee, Trustee’s attorney, Debtor, Debtor’s

attorney, SLS and SLS’ attorney and the U.S. Trustee.




Attorney Cynthia E. Lewis, Esq., is directed to serve a copy of this order, as indicated, on the above
interested parties who are non-CM/ECF users and file a proof of service within 3 days of entry of
the order.
